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Ensuring affordable, long term, environmentally sound disposal of MSW

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& Ellsworth, ME 04605
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DELIVERED VIA EMAIL

 

February 17, 2017 LY wd

Christopher H. Roney f ra |
Finance Authority of Maine fg Y

5 Community Drive :

PO Box 949

Augusta, Maine 04332-0949

Dear Mr. Roney:

I write reference the FAME Notice of Public Hearing concerning the pending tax exempt bond
application of Fiberigtitsi.@ for the issuance of Revenue Obligation Securities. MRC is a non-
profit Maine Corporation forméstin | 991 with a purpose and mission of ensuring affordable,

long terin, environmentally sound isposal of MSW for its member communities. MRC’s
membetship is comprised of 187 Communities that are in existing Partnership to deliver MSW to
the PER te=to-energy facility. This Partnership terminates March 31 , 2018.

MRC plans to attend the public hearing on February 20, 2017 to speak in support of Fiberight’s
pending application. We would very much appreciate the opportunity to be recognized to speak.
MRC will also provide written comments for the record.

Thank you for your consideration.

Sincerely, 7

 

Gregory A. Lounder
Executive Director
